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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON


NETRATINGS, INC.,
a Delaware corporation,
                                                              Case No. CV 06-1420-HA
                               Plaintiff,
                                                              ORDER OF DISMISSAL
                       v.


WEBTRENDS, INC.,
a Delaware corporation,

                               Defendant.

       The Court having been informed by counsel for the parties that this action has been settled,

       IT IS ORDERED that, pursuant to LR 41.1, this action is dismissed with prejudice and

without costs and with leave, upon good cause shown within sixty (60) days, to have this order of

dismissal set aside and the action reinstated if the settlement is not consummated. Pending motions,

if any, are denied as moot. All pretrial deadlines and any trial date are stricken.


       Dated: December 12, 2007


                                              SHERYL S. McCONNELL, Clerk of Court



                                              by       /s/ Jenny Raun
                                                      Jenny Raun, Deputy Clerk




ORDER OF DISMISSAL
